966 F.2d 1446
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Manuel H. VENABLE, Plaintiff-Appellant,v.L. Douglas WILDER, Defendant-Appellee.
    No. 92-6348.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 1, 1992Decided:  June 12, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, Chief District Judge.  (CA-91-1618-AM)
      Manuel H. Venable, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS, WILKINSON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Manuel H. Venable appeals from the district court's order dismissing this civil action as frivolous under 28 U.S.C.s 1915(d) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Venable v. Wilder, No. CA-91-1618-AM (E.D. Va.  Dec. 5, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    